   Case 18-10261         Doc 6   Filed 02/09/18 Entered 02/09/18 16:45:36          Desc Main
                                   Document     Page 1 of 13



                          UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF TENNESSEE
                                  EASTERN DIVISION


In re:                                       )
                                             )   CASE NO.18-10261
SOUTHERN INDUSTRIAL                          )
MECHANICAL MAINTENANCE                       )   CHAPTER 11
COMPANY, LLC,                                )
                                             )   JUDGE JIMMY L. CROOM_
               Debtor.                       )
                                             )


  MOTION OF DEBTOR FOR INTERIM ORDER AUTHORIZING DEBTOR TO USE
      CASH COLLATERAL, PROVIDING ADEQUATE PROTECTION, AND
        PRESCRIBING FORM AND MANNER OF NOTICE AND TIME
                        FOR FINAL HEARING

         Southern Industrial Mechanical Maintenance (“SIMMCO” or “Debtor”), as debtor-in-

possession, by and through its undersigned counsel, respectfully requests the Court to enter an

interim order substantially in the form attached hereto as Exhibit A (the “Interim Order”): (i)

authorizing the Debtor’s use of “cash collateral” (as defined in 11 U.S.C. §363(a), “Cash

Collateral”), (ii) providing adequate protection; and, (iii) prescribing the form and manner of

notice and time for final hearing (the “Final Hearing”) to consider the relief requested in the

Motion. The Debtor further requests that, after the Final Hearing, the Court enter a Final Order

(as defined herein) authorizing the Debtor’s on-going use of cash collateral. In support of this

motion (the “Motion”), the Debtor relies upon the Declaration of David Blurton, President and

CEO of Southern Industrial Mechanical Maintenance Company, LLC, in Support of Various

First Day Relief (the “Blurton Declaration”) incorporated by reference and respectfully states:
  Case 18-10261       Doc 6     Filed 02/09/18 Entered 02/09/18 16:45:36           Desc Main
                                  Document     Page 2 of 13



                                JURISDICTION AND VENUE

        1.     This Court has jurisdiction over this Motion under 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409.

        2.     The statutory and legal predicates for the relief requested herein include sections

105(a), 363, and 506(a) of the Bankruptcy Code.          Such relief is warranted pursuant to

Bankruptcy Rules 6003 and 6004.

                                    RELIEF REQUESTED

        3.     The Debtor needs to continue its business operations to maintain the value of its

business, and use of the Debtor’s accounts receivable and existing cash is critical to the ongoing

operation of the Debtor’s business and this Chapter 11 Case. The Debtor seeks authority to use

cash collateral on an immediate interim basis in accordance with a budget to be filed prior to the

hearing and pursuant to an order entered after the Final Hearing throughout the course of this

case.

        4.     Specifically, the Debtor requests entry of interim and final orders authorizing the

Debtor to:

               a.      use Cash Collateral for up to 45 days (the “Specified Period”) in
               the amounts and for the purposes set forth in an approved Budget, which
               shall be submitted prior to the hearing and attached as Exhibit A to the
               Interim Order, subject to the terms of the Interim Order; including without
               limitation that Debtor may spend up to 105% of the total amount of
               expenditures set forth in the Budget during the Specified Period;

               b.      grant the IRS and IberiaBank, the two parties known to be
               asserting an interest in the Debtor’s Cash Collateral, adequate protection
               in the form of replacement liens and a super priority administrative claim,
               both of which shall be limited to the extent of any diminution in value of
               their respective interests in the PrePetition Collateral;




                                                2
  Case 18-10261         Doc 6     Filed 02/09/18 Entered 02/09/18 16:45:36          Desc Main
                                    Document     Page 3 of 13



                c.      schedule a final hearing (the “Final Hearing”) on or before March
                15, 2018 to consider entry of an order (the “Final Order”) granting the
                relief requested herein on a final basis and approve the form and notice
                with respect to the Final Hearing;

                d.      provide for immediate effectiveness of the Interim Order; and,

                e.     entry of a Final Order providing for the on-going use of Cash
                Collateral throughout this Chapter 11 case, including among other
                provisions a “carve-out” for professional fees in the Final Order.

        5.      The Debtor requests that the duration of the Interim Order be the Specified Period

of forty-five (45) days from the Petition Date. The Debtor asserts that use of the Cash Collateral

for the expenses of the business set forth in an approved Budget is necessary to avoid immediate

and irreparable harm to the estate in as much as the Debtor cannot remain in business absent

payment of certain on-going operating expenses.

        6.      The Debtor requests entry of the Interim Order as soon as possible. The Debtor

will be unable to operate in Chapter 11 unless the Court enters the Interim Order promptly to

provide for the use of Cash Collateral. Thus expedited approval of the Interim Order is in the

best interests of the Debtor and its estate.

                                          BACKGROUND

        7.      On February 9, 2018 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”). The

Debtor is authorized to continue to operate its business and manage its properties as debtor in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee, examiner,

or statutory creditors’ committee has been appointed in this Chapter 11 Case.

        8.      SIMMCO is a highly recognized mechanical contractor and pipe fabricator

headquartered in Brownsville, Tennessee, that has been in business since 1977. Over the years, it




                                                 3
  Case 18-10261        Doc 6     Filed 02/09/18 Entered 02/09/18 16:45:36          Desc Main
                                   Document     Page 4 of 13



has worked on the construction of large industrial facilities, and it has several significant

maintenance contracts. Currently, SIMMCO employs approximately 75 individuals.

       9.      Prior to 2014, SIMMCO was a successful enterprise, with revenues of

approximately $35 million in some years. In 2014, SIMMCO entered into a subcontract related

to the construction of a steel mill in Shreveport, Louisiana. The project did not go well, and

SIMMCO advanced large sums of money to complete its work on the project even though the

general contractor refused to pay SIMMCO.

       10.     SIMMCO timely filed a lien for its work on the disputed Louisiana project and

initiated litigation to collect the amounts owed to it. SIMMCO sued for $27 million including

overhead and profit. SIMMCO and the general contractor ultimately agreed to resolve the

dispute through binding arbitration, and in December 2017, the arbitration panel awarded

SIMMCO only $4.5 million. SIMMCO believes that most of this award will have to be paid to a

company who funded the litigation and asserts a lien on the award.

       11.     SIMMCO had expected to use the award from the arbitration to pay down the

debt owed to IberiaBank, its largest lender, as well as amounts owed to the IRS. After the

arbitration award was entered, IberiaBank demanded payment in full of all amounts owed and

initiated an action in federal district court seeking appointment of a receiver.

       12.     As a result of the Louisiana project problems and costs advanced in connection

with that project, SIMMCO was in 2015 and 2016 unable to pay other debts timely, including

some of its withholding obligations to the IRS. The IRS ultimately filed a lien for the amounts

owed, which hampered SIMMCO’s ability to get work on new projects, and SIMMCO’s

revenues dropped significantly. SIMMCO’s business has now stabilized, and prospects for new




                                                  4
  Case 18-10261        Doc 6    Filed 02/09/18 Entered 02/09/18 16:45:36           Desc Main
                                  Document     Page 5 of 13



business are good. SIMMCO filed this voluntary bankruptcy case with a goal of reorganizing its

financial obligations and returning its business to pre-2014 levels of success.

       13.     The Debtor requires the use of Cash Collateral to pay certain expenses incurred in

the normal course of its business. Collections on accounts receivables are the Debtor’s only

source of funds available to pay these expenses. Therefore, the Debtor’s ability to use Cash

Collateral to pay budgeted expenses is essential to the success of this Chapter 11 Case. Unless

the Court authorizes the use of Cash Collateral, the Debtor will be unable to pay its employs or

for goods and services essential to the on-going operation of the Debtor’s business.

                               PREPETITION SECURED LOANS

       14.     To the knowledge of the Debtor, two creditors assert an interest in the cash

collateral that the Debtor seeks to use by this Motion. One creditor is the Internal Revenue

Service (“IRS”), and the other is IberiaBank (“Iberia”). Iberia Bank filed a UCC-1 financing

statement against Debtor on June 2, 2014 asserting a security interest in the Debtor’s accounts

and other assets. Iberia asserts that the Debtor owes it more than $28 million. On March 7, 2016

and on May 27, 2016, the IRS filed notices of Federal Tax Liens against the Debtor with the

Register of Deeds for Haywood County, Tennessee. The liens are for unpaid taxes from 2015

and are in an amount exceeding $2.75 million.

       15.     Other creditors assert security interests in other assets owned by the Debtor, but

not in the Cash Collateral that the Debtor seeks to use pursuant to this Motion. Iberia holds

deeds of trust on real property owned by the Debtor, and there are also liens against these

properties for unpaid property taxes. Iberia also asserts liens against many of the Debtor’s

vehicles and equipment. Fox, Swibel and attorney David Scotti assert liens against the Debtor’s




                                                 5
  Case 18-10261       Doc 6     Filed 02/09/18 Entered 02/09/18 16:45:36            Desc Main
                                  Document     Page 6 of 13



recovery in the arbitration proceeding.     Other creditors assert liens in individual pieces of

equipment or vehicles.



                              BASIS FOR RELIEF REQUESTED

       16.     Section 363(c)(2) of the Bankruptcy Code provides that the Debtor may not use,

sell or lease cash collateral unless “(A) each entity that has an interest in such cash collateral

consents; or (B) the court, after notice and hearing, authorizes such use, sale, or lease in

accordance with the provisions of this section.” 11 U.S.C. § 363(c)(2).

       17.     Section 363(e) of the Bankruptcy Code provides that “on request of an entity that

has an interest in property . . . to be used, sold or leased, by the trustee, the court . . . shall

prohibit or condition such use, sale or lease as is necessary to provide adequate protection of

such interest.” 11 U.S.C. § 363(e). While the concept of adequate protection is not defined in the

Bankruptcy Code, section 361 sets forth a non-exclusive list of examples as to how adequate

protection may be provided, including cash payments and replacement liens. The purpose of

adequate protection is to preserve the creditors’ position and to protect the secured creditor from

diminution of the value of its collateral during the bankruptcy process. In re Worldcom, Inc., 304

B.R. 611, 618-19 (Bankr. S.D.N.Y. 2004); In re Ledgmere Land Corp., 116 B.R. 338, 343

(Bankr. D. Mass. 1990).

       18.     The Interim Order provides for the IRS and Iberia to be granted replacement liens

and superpriority administrative expense claims under Sections 503 and 507 of the Bankruptcy

Code. The replacement liens and superpriority administrative expense claims are limited to an

amount equal to the diminution in value of these lenders’ pre-petition collateral. These

protections are adequate and necessary to protect the Prepetition Lenders from any diminution in



                                                6
  Case 18-10261        Doc 6     Filed 02/09/18 Entered 02/09/18 16:45:36            Desc Main
                                   Document     Page 7 of 13



the value of their respective interests in the Cash Collateral as a result of the use of the Cash

Collateral, the Carve Out, or the imposition of the automatic stay.

       19.     Furthermore, the Debtor needs the liquidity from the use of the Cash Collateral in

order to conduct its post-petition operations in a manner that would maximize the value of its

business and its assets. Without the use of Cash Collateral, the Debtor would not be able to fund

this Chapter 11 Case and provide a distribution to the creditors.

       20.     The Debtor believes that the terms of the use of cash collateral are fair and

reasonable, as they provide the IRS and Iberia with additional post-petition liens, while

permitting the Debtor to continue operations in accordance with a budget, thereby providing the

Debtor with time necessary to reorganize its business and provide a distribution to creditors.

       21.     The proposed Final Order will provide for a $100,000 carve-out for estate

professionals form the collateral of the IRS and Iberia upon a default occurring under the order

authorizing the on-going use of Cash Collateral. Prior to any such default, the Debtor will

request authority to pay estate professionals (subject to all required Court approvals) to the extent

provided for in the on-going Budget.

       22.     Accordingly, the Court should approve the Debtor’s use of the Cash Collateral

pursuant to the terms set forth in the Interim Order.

                                       INTERIM RELIEF

       23.     Federal Rule of Bankruptcy Procedure 4001 provides that a final hearing on a

motion for authorization to use Cash Collateral may not be commenced earlier than 14 days after

service of the motion. If the motion so requests, however, the court may conduct a preliminary

hearing before such 14 day period expires and may authorize the use of cash collateral as is




                                                 7
  Case 18-10261         Doc 6     Filed 02/09/18 Entered 02/09/18 16:45:36              Desc Main
                                    Document     Page 8 of 13



necessary to avoid immediate and irreparable harm to the estate pending a final hearing. See

FED.R.BANK.P. 4001(b)(2,3).

        24.     The urgent need to preserve the Debtor’s businesses and avoid immediate and

irreparable harm to the estates, as set forth in this Motion, makes it imperative that the Debtor be

authorized to use Cash Collateral pursuant to the terms set forth in the Interim Order and

summarized in this Motion, pending the Final Hearing. It is critical that the Debtor maintains the

confidence of employees, suppliers, and customers in the Debtor’s ability to meet their

obligations while reorganizing its business.       Continued cash availability is essential to the

Debtor’s ability to achieve this important aim. The denial of use of Cash Collateral for these

purposes would result in the immediate shut-down of the Debtor’s operations, irreparably

damaging the Debtor’s ability to maximize the value of its business and its assets and causing

substantial prejudice to the Debtor’s estate, its creditors, and other parties-in-interest.

        25.     Accordingly, this Court should enter an order authorizing the Debtor’s use of

Cash Collateral pursuant to the terms set forth in the proposed Interim Order pending a Final

Hearing and should schedule a final hearing pursuant to Bankruptcy Rule 4001.

                    NOTICE WITH RESPECT TO INTERIM HEARING

        26.     No trustee, examiner or creditors’ committee has been appointed in this Chapter

11 Case. The Debtor has provided notice of this motion via email, fax, hand delivery or

overnight mail to: (a) The United States Trustee, (b) the United States Attorney, (c) the Attorney

General for the State of Tennessee, (d) IberiaBank, (e) Internal Revenue Service, (f) Pinnacle

Bank (formerly Magna Bank), (g) Law Offices of David A. Scotti, (h) Red-D-Arc Inc., (i) Fox,

Swibel, Levin & Carroll, LLP, (j) Hartford Accident and Indemnity Company, (k) Hartford

Casualty Insurance Company, (l) local ad valorem taxing authorities, and (m) the twenty largest



                                                   8
  Case 18-10261         Doc 6     Filed 02/09/18 Entered 02/09/18 16:45:36              Desc Main
                                    Document     Page 9 of 13



unsecured creditors. The Debtor submits that, in light of the nature of the relief requested, no

other or further notice need be given.

                      NOTICE WITH RESPECT TO FINAL HEARING

       27.     Pursuant to Bankruptcy Rule 4001, the Debtor respectfully requests that the Court

authorize it to provide notice of the Final Hearing by serving a notice of the Interim Order upon:

(a) The United States Trustee, (b) the United States Attorney, (c) the Attorney General for the

State of Tennessee, (d) IberiaBank, (e) Internal Revenue Service, (f) Pinnacle Bank (formerly

Magna Bank), (g) Law Offices of David A. Scotti, (h) Red-D-Arc Inc., (i) Fox, Swibel, Levin &

Carroll, LLP, (j) Hartford Accident and Indemnity Company, (k) Hartford Casualty Insurance

Company, (l) local ad valorem taxing authorities, (m) the twenty largest unsecured creditors, and

(n) all other parties that filed a notice of appearance and demand for service of papers in the

Debtor’s bankruptcy case under Bankruptcy Rule 9010(b).

       28.     The cost of mailing notice to all creditors in this Chapter 11 Case would be

extremely expensive, and would not, in the Debtor’s view, confer any substantial benefit on the

Debtor, its estate, its creditors, or other parties-in-interest. Accordingly, and in light of the relief

requested, the Debtor respectfully requests that any further notice of the Hearing and of the relief

requested, other than as provided for in the Motion, be dispensed with and waived.

                                      NO PRIOR REQUEST

       No prior request for the relief sought herein has been made to this or any other court.




                                                   9
  Case 18-10261        Doc 6     Filed 02/09/18 Entered 02/09/18 16:45:36          Desc Main
                                  Document     Page 10 of 13



                                          CONCLUSION

       Wherefore, the debtor respectfully requests that this Court (i) enter the Interim Order

substantially in the form attached hereto as Exhibit A granting the relief requested therein, (ii)

grant the Debtor the on-going right to use Cash Collateral pursuant to the terms of a Final Order,

and (iii) set a hearing on the Final Order on or before March 15, 2018, and (iv) award such other

and further relief as it deems just and proper.


                                                  Respectfully submitted,

                                                  /s/ Glenn B. Rose
                                                  Paul G. Jennings, TN Bar No. 14367
                                                  Glenn B. Rose, TN Bar No. 10598
                                                  Gene L. Humphreys, TN Bar No. 21807
                                                  Bass, Berry & Sims PLC
                                                  150 Third Avenue South, Suite 2800
                                                  Nashville, TN 37201
                                                  Telephone (615) 742-6200
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                                                  pjennings@bassberry.com
                                                  grose@bassberry.com
                                                  ghumphreys@bassberry.com

                                                  Proposed Counsel for Debtor




                                  CERTIFICATE OF SERVICE
        I hereby certify that a true and correct copy of the foregoing document has been served
this 9th day of February, 2018 upon all parties and via the method indicated on the attached
Service List.

                                                         /s/ Glenn B. Rose




                                                    10
  Case 18-10261            Doc 6     Filed 02/09/18 Entered 02/09/18 16:45:36                      Desc Main
                                      Document     Page 11 of 13



                                                    SERVICE LIST

Government Agencies                  Overnight delivery            Email                            Fax
U.S. Trustee
200 Jefferson Avenue, Suite 400
Memphis, TN 38103                                                  ustpregion08.me.ecf@usdoj.gov
U.S. Attorney
109 South Highland Avenue, Suite
300
Jackson, TN 38301                                                                                   731‐422‐6668
TN Attorney General, Bankr. Unit
Office of the Attorney General and
Reporter
PO Box 20207
Nashville, TN 37202‐0207                                                                            615‐741‐2009
Secured Creditors
IberiaBank
c/o James E. Bailey III
R. Campbell Hillyer
Butler Snow LLP
6075 Poplar Avenue, Suite 500                                      Jeb.bailey@butlersnow.com;
Memphis, TN 38119                                                  cam.hillyer@butlersnow.com
Internal Revenue Service                                           John.Hallman@irs.gov
801 Broadway MDP 146                                               Patricia.Waln@irs.gov
Nashville, TN 37203                                                John.D.Chaffin@irs.gov
20 Largest Unsecured Creditors
Aggreko
PO Box 972502
Dallas, TX 75397‐2562                                                                               901‐873‐4740
Andrew Myers PC
3900 Essex Lane, Suite 800
Houston, TX 77027‐5198                                             info@andrewsmyers.com            713‐850‐4211
Apache Industrial Services
PNC Bank, N.A.
Lockbox 677381
Dallas, TX 75267‐7381                                                                               713‐450‐2447
Applied Technical Services
1049 Triad Court
Marietta GA 30062                    X
Bank of America
P.O. Box 15710
Wilmington DE 19886‐5710             X
EWING Tool
15103 Copping Drive
Baton Rouge, LA 70810                                              sales@hytorclouisiana.com
Falk LLC
5979 McMcasland Ave
Suite 100
Portage IN 46368                     X
Gulf Coast Marine
PO Box 2088
501 Stimrad Road
Mobile, AL 36652                                                   mobile@gulfcoastmarine.com
H&E Equipment
PO Box 849850
Dallas, TX 75284                                                   rjulien@he‐equipment.com         972‐642‐4422


                                                          11
  Case 18-10261           Doc 6       Filed 02/09/18 Entered 02/09/18 16:45:36            Desc Main
                                       Document     Page 12 of 13


Horne LLP
26 Security Drive
Jackson, TN 38305                                         debbie.wyatt.com@hornellp.com
Infinity Construction Services
PO Box 327
Clute, TX 77531                                                                            979‐265‐9281
International Rivers Inc.
600 E 2nd Street
Salem, OH 44460                                           info@intrivers.com
Keith Inc. 20701 FM 521
Rosharon TX 77583                     X
MRC Global Inc
P.O. Box 204392
Dallas TX 75320‐4392                                                                       972‐606‐2615
NES Rentals
P.O. Box 205572
Dallas TX 75320‐5572                  X
Nudraulix
P.O. Box 7365
311 Air Court
Mobile AL 36607                       X
Pipe Spool Services LLC
1520 richland Hollow Lane
Friendswood, TX 77546                                     info@pipespoolservices.com
Sunbelt Rentals
PO Box 409211
Atlanta, GA 30384                                         pcm055@sunbeltrentals.com        404‐367‐9074
Universal Limited Inc.
PO Box 61007
Birmingham, AL 35261                                      contactus@universalltd.com       205‐833‐6045
Water and Wastewater Services
91 McNeely Rd
Marion AR 72364                       X
Other
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Pittsburgh, PA 15220                                      dascotti@scottilaw.net
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Pinnacle Bank (formerly Magna Bank)
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Suite 900
Nashville TN 37201                    X
Fox, Swibel, Levin & Carroll, LLP
200 W. Madison Street, Suite 3000
Chicago, IL 60606‐3417                                    jcoleman@foxswibel.com
Hartford Accident and Indemnity
Company
Hartford Casualty Insurance
Company
One Hartford Plaza
Hartford CT 06115                     X




                                                  12
  Case 18-10261               Doc 6      Filed 02/09/18 Entered 02/09/18 16:45:36           Desc Main
                                          Document     Page 13 of 13


Haywood County Trustee
1 N Washington
Brownsville, TN 38012                                                                        731‐772‐8391
City of Brownsville, Lisa Brooks, City
Clerk
PO Box 449
Brownsville, TN 38012                                          lbrooks@brownsvilletn.gov
Madison County Trustee’s Office
100 E Main Street
Jackson, TN 38301                                             trustee@madisoncountytn.gov
Jackson City Tennessee Revenue
Office
101 E Main Street
Jackson, TN 38301                                                kbell@cityofjackson.net




                                                     13
